Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 1 of 84 Page ID #:802
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 2 of 84 Page ID #:803
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 3 of 84 Page ID #:804
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 4 of 84 Page ID #:805
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 5 of 84 Page ID #:806
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 6 of 84 Page ID #:807
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 7 of 84 Page ID #:808
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 8 of 84 Page ID #:809
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 9 of 84 Page ID #:810
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 10 of 84 Page ID
                                  #:811
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 11 of 84 Page ID
                                  #:812
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 12 of 84 Page ID
                                  #:813
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 13 of 84 Page ID
                                  #:814
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 14 of 84 Page ID
                                  #:815
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 15 of 84 Page ID
                                  #:816
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 16 of 84 Page ID
                                  #:817
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 17 of 84 Page ID
                                  #:818
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 18 of 84 Page ID
                                  #:819
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 19 of 84 Page ID
                                  #:820
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 20 of 84 Page ID
                                  #:821
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 21 of 84 Page ID
                                  #:822
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 22 of 84 Page ID
                                  #:823
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 23 of 84 Page ID
                                  #:824
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 24 of 84 Page ID
                                  #:825
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 25 of 84 Page ID
                                  #:826
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 26 of 84 Page ID
                                  #:827
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 27 of 84 Page ID
                                  #:828
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 28 of 84 Page ID
                                  #:829
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 29 of 84 Page ID
                                  #:830
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 30 of 84 Page ID
                                  #:831
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 31 of 84 Page ID
                                  #:832
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 32 of 84 Page ID
                                  #:833
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 33 of 84 Page ID
                                  #:834
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 34 of 84 Page ID
                                  #:835
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 35 of 84 Page ID
                                  #:836
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 36 of 84 Page ID
                                  #:837
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 37 of 84 Page ID
                                  #:838
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 38 of 84 Page ID
                                  #:839
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 39 of 84 Page ID
                                  #:840
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 40 of 84 Page ID
                                  #:841
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 41 of 84 Page ID
                                  #:842
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 42 of 84 Page ID
                                  #:843
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 43 of 84 Page ID
                                  #:844
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 44 of 84 Page ID
                                  #:845
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 45 of 84 Page ID
                                  #:846
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 46 of 84 Page ID
                                  #:847
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 47 of 84 Page ID
                                  #:848
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 48 of 84 Page ID
                                  #:849
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 49 of 84 Page ID
                                  #:850
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 50 of 84 Page ID
                                  #:851
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 51 of 84 Page ID
                                  #:852
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 52 of 84 Page ID
                                  #:853
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 53 of 84 Page ID
                                  #:854
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 54 of 84 Page ID
                                  #:855
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 55 of 84 Page ID
                                  #:856
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 56 of 84 Page ID
                                  #:857
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 57 of 84 Page ID
                                  #:858
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 58 of 84 Page ID
                                  #:859
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 59 of 84 Page ID
                                  #:860
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 60 of 84 Page ID
                                  #:861
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 61 of 84 Page ID
                                  #:862
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 62 of 84 Page ID
                                  #:863
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 63 of 84 Page ID
                                  #:864
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 64 of 84 Page ID
                                  #:865
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 65 of 84 Page ID
                                  #:866
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 66 of 84 Page ID
                                  #:867
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 67 of 84 Page ID
                                  #:868
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 68 of 84 Page ID
                                  #:869
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 69 of 84 Page ID
                                  #:870
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 70 of 84 Page ID
                                  #:871
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 71 of 84 Page ID
                                  #:872
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 72 of 84 Page ID
                                  #:873
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 73 of 84 Page ID
                                  #:874
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 74 of 84 Page ID
                                  #:875
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 75 of 84 Page ID
                                  #:876
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 76 of 84 Page ID
                                  #:877
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 77 of 84 Page ID
                                  #:878
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 78 of 84 Page ID
                                  #:879
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 79 of 84 Page ID
                                  #:880
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 80 of 84 Page ID
                                  #:881
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 81 of 84 Page ID
                                  #:882
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 82 of 84 Page ID
                                  #:883
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 83 of 84 Page ID
                                  #:884
Case 5:17-cv-01684-FMO-SHK Document 35-1 Filed 01/03/18 Page 84 of 84 Page ID
                                  #:885
